         Case 1:21-cv-01850-MLB Document 117 Filed 09/14/23 Page 1 of 7




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

   KENNY FAULK,


  Plaintiff,                                    CIVIL ACTION NO:
                                                 1:21-CV-01850-MLB
   v.


   DIMERCO EXPRESS (USA) CORP.,


   Defendant.

         PLAINTIFF’S NOTICE OF OBJECTION TO DEFENDANT’S
                     USE OF EVIDENCE AT TRIAL

        Plaintiff, Kenny Faulk (“Plaintiff” or “Mr. Faulk”), by and through his counsel

of record, hereby files this Notice of Objection to Defendant’s use of the following

witnesses at trial and any associated documents with their testimony: Catalina

Alvarez, Adam Jones, and Representative of UPS. Specifically, Plaintiff objects to

these witnesses on the grounds that their testimony will violate Federal Rules of

Evidence 401, 403, and 608, as discussed below and in Plaintiff’s Motion in Limine.

[Doc. 101, 112].




                                           1
         Case 1:21-cv-01850-MLB Document 117 Filed 09/14/23 Page 2 of 7




   I.       PROCEDURAL HISTORY AND STATEMENT OF FACTS

        On or about May 4, 2021, Plaintiff filed his Complaint against Defendant

alleging that Defendant failed to hire Plaintiff because of his race. [Doc. 1]. On June

4, 2021, Defendant filed its Answer, and the parties conducted a yearlong discovery

process which concluded on August 15, 2022. [Doc. 5, 52]. Approximately three (3)

three years after Defendant failed to hire Plaintiff, Defendant’s counsel deposed

Plaintiff and discovered a pending rape charge, and associated charges in the same

criminal case, against Plaintiff. Defendant subsequently subpoenaed records from

Livingston International (“Livington”), a place Plaintiff worked before he applied

before a job with Dimerco. Livingston produced documents that include statements

from Plaintiff’s previous attorney, Catalina Alvarez (“Ms. Alvarez”), stating

incorrect    statements    regarding    Plaintiff’s   departure    from    Livingston.

[Dimerco002696-2749]. Defendant seeks to introduce testimony and documents

from Ms. Alverez and Adam Jones, Livingston’s Custodian of Records, to attack

Plaintiff’s credibility and, in turn, introduce evidence of Plaintiff’s pending criminal

charges. Additionally, Defendant subpoenaed prior employment records from UPS

evidencing Plaintiff’s termination for conversion. [Dimerco002754-2769]. The

witness testimony and documents Defendant seeks to admit are irrelevant, unduly

prejudicial and should be excluded from use at trial.




                                           2
       Case 1:21-cv-01850-MLB Document 117 Filed 09/14/23 Page 3 of 7




 I.   Plaintiff’s Prior Employment Records from UPS are not Admissible
      under Rule 608 to Attack Plaintiff’s Character for Truthfulness.

      Federal Rule of Evidence 401 defines relevance as “evidence having any

tendency to make the existence of any fact that is of consequence to the

determination of the action more or less probable than it would be without the

evidence.” Fed. R. Evid. 401. Rule 608(b) provides that, except for a criminal

conviction under rule 609, “extrinsic evidence is not admissible to prove specific

instances of a witness’ conduct in order to attack or support the witness’ character

for truthfulness." Fed. R. Evid. 608(b). Extrinsic evidence of a witness’ prior

misconduct should be excluded where that evidence is probative only of the witness’

general propensity for truthfulness. United States v. Calle, 822 F.2d 1016, 1021 (11th

Cir. 1987). As the Eleventh Circuit has explained:

      Where impeachment is concerned, Rule 608(b) provides that the trial
      court may in its discretion permit questioning about a witness’ bad acts
      on cross-examination, if the acts bear on the witness’ character for
      truthfulness. If the witness denies the conduct, such acts may not be
      proved by extrinsic evidence and the questioning party must take the
      witness’ answer, unless the evidence would be otherwise admissible as
      bearing on a material issue of the case.

       United States v. Matthews, 168 F.3d 1234, 1244 (11th Cir. 1999) (internal
citations omitted).

      In other words, Rule 608 prohibits a party from introducing extrinsic evidence

of prior misconduct merely to impeach the general credibility of a witness. Calle,

822 F.2d at 1021; See United States v. Smith, 277 F. App'x 870, 872 (11th Cir. 2008)

                                          3
        Case 1:21-cv-01850-MLB Document 117 Filed 09/14/23 Page 4 of 7




(the district court did not abuse its discretion in finding that a witness’ prior false

statements were not admissible to show the witness was generally untruthful); See

also United States v. Pope, 132 F.3d 684, 688 (11th Cir. 1998) (the district court did

not error in refusing to admit extrinsic evidence of a witness’ criminal charges for

illegally possessing a firearm).

      Here, Defendant attempts to introduce Plaintiff’s employment records from

UPS to attack Plaintiff propensity for truthfulness. Specifically, Defendant intends

to use a UPS Representative’s testimony to authenticate the records showing that

UPS terminated Plaintiff on September 7, 2017, for conversion. Plaintiff’s

termination from UPS is not relevant to any issue in this matter and its admission is

solely a means for Defendant to attack Plaintiff’s character in violation of Rule 608.

When Defendant failed to hire Plaintiff, it had no knowledge of Plaintiff’s

termination from UPS and Defendant did not discover this information until

approximately (3) years after Defendant rendered its decision. To allow Defendant

to use a UPS Representative’s testimony and documents from Plaintiff’s UPS

employment file at trial will not provide any probative value to Defendant’s defense,

but it will unfairly prejudice Plaintiff with the jury. The UPS representative’s

testimony and supporting UPS documents can also mislead and confuse the jury to

falsely conclude that Plaintiff’s termination from UPS had a bearing on Defendant’s

decision not to hire Plaintiff. Therefore, Plaintiff respectfully requests that the Court

                                           4
           Case 1:21-cv-01850-MLB Document 117 Filed 09/14/23 Page 5 of 7




to use its discretion and exclude any testimony from Adam Jones, and any associated

documents which reference Plaintiff’ employment with UPS from use at trial.

    II.   Plaintiff’s Pending Charges and Communications with Livingston and
          Ms. Alverez are not Admissible under Rules 608(b) to Attack Plaintiff’s
          Character for Truthfulness.

          Plaintiff also opposes any references to Plaintiff’s pending rape charge, or any

other attendant/lesser charges that were lodged against Plaintiff in connection with

the rape charge.1 As a preliminary matter, Plaintiff has not been convicted of a

crime as required by Rule 609(a). Yet, Defendant seeks to introduce evidence of

Plaintiff’s pending rape charges (the “Charges”) which is not permitted under Rule

608(b). Specifically, Defendant intends to use the Charges to attack Plaintiff’s

character for truthfulness by showing that Plaintiff misrepresented the reason for his

Livington absences to Livingston and his prior counsel, Ms. Alverez. (Doc. 108, p.

3, 5-7). Apart from being completely irrelevant, Plaintiff’s communications with

Livington and Ms. Alverez (the “Communications”) are the exact type of evidence

Rule 608 seeks to exclude. Specifically, the Communications are not relevant to

proving any material fact of Defendant’s defense outlined in the Pre-Trial Order.

(Doc. 97, p. 7-8). Additionally, Defendant’s assertion that the Communications and

should be admitted because Plaintiff misrepresented that he was employed by




1
  Plaintiff’s objection to the admissibility of the Plaintiff’s pending rape charges also includes the lesser
included offenses of aggravated assault, strangulation and battery – family violence.
                                                       5
       Case 1:21-cv-01850-MLB Document 117 Filed 09/14/23 Page 6 of 7




Livingston when he applied to Dimerco is also without merit and is simply

Defendant’s attempt to circumvent Rule 608(b) and admit evidence of Plaintiff’s

Charges. In sum, the Communications and Charges are irrelevant and inadmissible

character evidence, which Defendant seeks to use to unfairly prejudice Plaintiff and

confuse the jury in violation of Rules 403 and 608(b). Therefore, Plaintiff

respectfully requests that the Court to use its discretion and exclude any testimony

from Catalina Alvarez, along with any associated documents which reference

Plaintiff’s employment with Livingston, or pending charges from use at trial.

      Respectfully submitted this 14th day of September 2023.

                                             BARRETT & FARAHANY

                                             s/ V. Severin Roberts
                                             V. Severin Roberts
                                             Georgia Bar No. 940504

                                             Attorney for Plaintiff
PO Box 530092
Atlanta, GA 30353
(404) 214-0120
(404) 214-0125 Facsimile
severin@justiceatwork.com




                                         6
          Case 1:21-cv-01850-MLB Document 117 Filed 09/14/23 Page 7 of 7




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

   KENNY FAULK,


  Plaintiff,                                     CIVIL ACTION NO:
                                                  1:21-CV-01850-MLB
   v.


   DIMERCO EXPRESS (USA) CORP.,


   Defendant.

                           CERTIFICATE OF SERVICE

        I hereby certify that I have this day served Plaintiff’s Notice of Objections to

Defendant’s Use of Evidence at Trial via ECF, which will notify all counsel of

record.

        Respectfully submitted the 14th day of September 2023.

                                                BARRETT & FARAHANY

                                                s/ V. Severin Roberts
                                                V. Severin Roberts
                                                Georgia Bar No. 940504




                                            7
